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O PS 8
(3/15)


                              UNITED STATES DISTRICT COURT                                                                      
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                                           Eastern District of Washington                                                                                                                                                                                                                




U.S.A. vs.                 Russette, Kristina Dawn                      Docket No.                                 1:16-CR-02006-EFS-11

                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Kristina Russette, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge Mary
K. Dimke in the Court at Yakima, Washington, on the 16th day of March 2016, under the following condition:

Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled substances
defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner. Defendant may not possess or use
marijuana, regardless of whether the defendant has been prescribed a medical marijuana card.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

The defendant is alleged to be in violation of her conditions of pretrial supervision in the Eastern District of Washington
by:

Violation #1: Consuming non-prescribed medication, Percocet, on or about March 11, 2016.
Violation #2: Consuming a controlled substance, marijuana, on or about March 17, 2016.

                            REQUESTING A SUMMONS BE ORDERED AT THIS TIME
                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:                             March 30, 2016
                                                                  by      s/Linda Leavitt
                                                                          Linda J. Leavitt
                                                                          U.S. Pretrial Services Officer

THE COURT ORDERS
[ ]  No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violations contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
                                                            se.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                            Signature of Judicial Officer
                                                                                                       




                                                                            Date
